                                                                  EXHIBIT A
                                      In re New Century TRS Holdings, Inc. Case No. 07-10416-KJC (Chap. 11)
                              Movant: U.S. Bank National Association, as Trustee for the Structured Asset Corporation Mortgage Loan Trust, 2006-4
                                                                          D&G Reference: 211885

                                                               Original              Current
 Loan No.       Mortgagors              Loan Date                                                       Current Value                               Property Address
                                                              Loan Amt               Payoff
                                                                                                                              13 Sunflower Court, North Providence, RI
1100180621     Holly A. Pray           12/13/2005            152,000.00            168,938.75             204,900.00
                                                                                                                              02911
1100181482      Lilia Meraz             1/31/2006            260,000.00            286,874.10             285,000.00          7363 North Bain Avenue, Fresno, CA 93722
              Allen Hughes and
1100183333                              1/31/2006            80,000.00              92,246.75              82,000.00          122 Juniper Street, Herlong, CA 93113
                Edith Hughes
                 Antoinette
                                                                                                                                                                         Case 07-10416-BLS




1100184362                              12/7/2005            163,200.00            174,248.82             195,000.00          16 18 E. Avenue, Glassboro, NJ 08028
                 Edmondson
             Juan Montalvo and
1100185261                             12/30/2005            252,000.00            266,104.45             290,000.00          415 7th Street, Union City, NJ 07087
               Gisela Medina
1100189208     Denise Doctor           2/23/23006            232,000.00            242,181.20             195,000.00          116 Myrtle Avenue, Jersey City, NJ 07305
                                                                                                                                                                         Doc 5124-4




                                                                                                                              148 57 Hookcreek Boulevard, Jamaica, NY
1100190844   Rhadames Polanco           2/28/2006            391,200.00            412,575.35             550,000.00
                                                                                                                              11431
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